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[Doscomb] [Order to Show Cause Why an Ombudsman Should Not Be Appointed]




                                         ORDERED.
Dated: June 17, 2020




                                  UNITED STATES BANKRUPTCY COURT
                                     MIDDLE DISTRICT OF FLORIDA
                                          ORLANDO DIVISION
                                          www.flmb.uscourts.gov



In re:                                                                     Case No.
                                                                           6:20−bk−03355−LVV
                                                                           Chapter 11
First Choice Healthcare Solutions, Inc.



________Debtor*________/

         ORDER TO SHOW CAUSE WHY AN OMBUDSMAN SHOULD NOT BE APPOINTED

   The Debtor filed a voluntary petition on June 15, 2020 indicating the Debtor is a health care business. 11
U.S.C. § 333(a)(1) provides that the Court shall appoint an ombudsman, not later than 30 days after the
commencement of the case. Accordingly it is

   ORDERED:

    1. The Debtor and the United States Trustee shall appear before the Court on June 24, 2020 , at 02:00 PM
to show cause why a Patient Care Ombudsman should not be appointed. The hearing will be held
telephonically.

   2. The hearing may be canceled by the filing of a consent to no Ombudsman being necessary by the Debtor
and United States Trustee.

   3. Telephonic Appearance Requirement. Effective March 16, 2020, and continuing until further notice,
Judges in all Divisions will conduct all hearings by telephone. Parties should arrange a telephonic appearance
through Court Call (866−582−6878).



*All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by two
individuals.

The Clerk's office is directed to serve a copy of this order on interested parties.
